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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUÑIZ,
   MARCUS MARTIN, NATALIE ROMERO,
   CHELSEA ALVARADO, JOHN DOE, and
   THOMAS BAKER,

                                  Plaintiffs,            Civil Action No. 3:17-cv-00072-NKM

   v.                                                        JURY TRIAL DEMANDED

   JASON KESSLER, et al.,

                                  Defendants.


           PLAINTIFFS’ OPPOSITION TO DEFENDANT RICHARD SPENCER’S
                OBJECTION TO JUDGE HOPPE’S ORDER TO STRIKE
                 SPENCER’S MOTION FOR SUMMARY JUDGMENT

         Defendant Richard Spencer asks this Court to overturn Judge Hoppe’s May 19, 2021,

  order, ECF No. 952, which granted Plaintiffs’ motion to strike Spencer’s motion for summary

  judgment as untimely filed. See ECF Nos. 895, 896, 906, 908, 957. The law, however, is clear that

  objections to such rulings may not merely reargue issues previously considered by the Magistrate

  Judge. See, e.g., Buchanan v. Consol. Stores Corp., 206 F.R.D. 123, 124 (D. Md. 2002) (“It is not

  the function of objections to discovery rulings to allow wholesale relitigation of issues resolved by

  the magistrate judge.”). Spencer’s objection here does little more than recycle arguments and

  assertions that he previously raised in response to Plaintiffs’ motion to strike, all of which Judge

  Hoppe expressly considered and rejected in his well-reasoned opinion striking Spencer’s motion

  for summary judgment as untimely. Compare ECF No. 957 at 1–6 with ECF No. 906 at 1–4.

  Indeed, Spencer even quotes his previous response brief, confirming that his new objection merely
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  recycles his previous substantive arguments. See ECF No. 957 at 2 (quoting ECF No. 906 at 2).

  His objection can and should be rejected on that basis alone.

         In any event, the general rule is that a Magistrate Judge’s order should only be set aside if

  it “is clearly erroneous or is contrary to law.” Fed. R. Civ. P. 72(a); see also Advanced Training

  Grp. Worldwide, Inc. v. Proactive Techs. Inc., No. 19-CV-505, 2020 WL 2738381, at *1 (E.D.

  Va. Jan. 29, 2020) (overruling objections to magistrate judge’s order granting motion to strike as

  not “clearly erroneous” or “contrary to law”). This standard is extremely demanding, and because

  of it, Magistrate Judges’ non-dispositive orders are rarely overturned. See, e.g., CertusView Techs.,

  LLC v. S & N Locating Servs., LLC, 107 F. Supp. 3d 500, 504 (E.D. Va. 2015) (“A magistrate

  judge’s finding is 'clearly erroneous' when although there is evidence to support it, the reviewing

  court on the entire evidence is left with the definite and firm conviction that a mistake has been

  committed. If a court is not firmly convinced that such an error has occurred, then the magistrate

  judge’s order must be affirmed. Indeed, altering a magistrate judge’s non-dispositive orders is

  extremely difficult to justify.” (cleaned up)).

         While Spencer offers certain minor non-substantive matters not addressed in his previous

  response, none of them justifies overturning Magistrate Judge Hoppe’s order. First, Spencer seems

  to take issue with the time it took Judge Hoppe to decide Plaintiffs’ motion, which is ironic, to say

  the least, given the untimeliness of Spencer’s motion. See ECF No. 957 at 3. Spencer also notes

  that the trial date has moved from April 2021 to October 2021, an issue about which Magistrate

  Judge Hoppe was certainly aware. See id. at 2–4. Spencer goes on to state, in a section entitled

  “Judicious Charity,” that he has an “academic background” and “professional experience in

  writing and publishing” that make him “well prepared to participate in the litigation process on its

  foundational level.” See id. at 4. But none of these are relevant substantive points that should alter


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  the outcome here. Indeed, Spencer’s extensive education and experience make it even less

  excusable that he would repeatedly defy easy-to-follow deadlines despite multiple admonitions by

  Magistrate Judge Hoppe.

          To the extent necessary, Plaintiffs incorporate by reference their previous arguments as to

  why Spencer has failed to establish that his delinquency in filing his summary judgment motion

  was the product of excusable neglect. See ECF Nos. 896, 908. Should the Court find it useful,

  Plaintiffs would be pleased to provide any further briefing requested by the Court.

  Dated: June 10, 2021                         Respectfully submitted,



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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 10, 2021, I filed the foregoing with the Clerk of Court through
  the CM/ECF system, which will send a notice of electronic filing to:

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                                    CERTIFICATE OF SERVICE

         I further hereby certify that on June 10, 2021, I also served the following non-ECF
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